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02

03                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
04                                     AT SEATTLE

05 UNITED STATES OF AMERICA,              )            CASE NO. CR05-231-JCC
                                          )
06         Plaintiff,                     )
                                          )
07         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
08   STEVEN DALE GLENN,                   )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
09         Defendant.                     )
     ____________________________________ )
10

11         An initial hearing on supervised release revocation in this case was scheduled before me

12 on September 4, 2008. The United States was represented by AUSA Brian Werner and the

13 defendant by John W. Lundin. The proceedings were digitally recorded.

14         Defendant had been sentenced on or about May 26, 2006 by the Honorable John C.

15 Coughenour on a charge of Transportation of a Stolen Motorcycle, and sentenced to time served

16 in custody (8 days), 3 years supervised release. (Dkt. 1035.)

17         The conditions of supervised release included the standard conditions plus the requirements

18 that defendant participate in a drug treatment program, abstain from alcohol, submit to search,

19 provide access to financial information, not associate with any known outlaw motorcycle gang

20 members, and be prohibited from wearing gang insignia or “colors”.

21         On April 16, 2008, defendant’s probation officer reported that defendant had tested

22 positive for methamphetamine use. Defendant was reprimanded, placed in a structured testing

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01 program with increased frequency of testing, and referred for professional assessment and

02 counseling, as well as outpatient treatment and a community based residential program. No

03 further action was taken at that time. (Dkt. 1193.)

04          In an application dated August 5, 2008 (Dkt. 1194 ), U.S. Probation Officer Jerrod Akins

05 alleged the following violation of the conditions of supervised release:

06          1.       Consuming methamphetamine on or before July 10, 2008, in violation of standard

07 condition No. 7.

08          Defendant was advised in full as to the charge and as to his constitutional rights.

09          Defendant admitted the alleged violation and waived any evidentiary hearing as to whether

10 it occurred. (Dkt. 1198.)

11          I therefore recommend the Court find defendant violated his supervised release as alleged,

12 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

13 set before Judge Coughenour.

14          Pending a final determination by the Court, defendant has been released on the conditions

15 of supervision.

16          DATED this 4th day of September , 2008.



                                                   A
17

18                                                 Mary Alice Theiler
                                                   United States Magistrate Judge
19

20
     cc:    District Judge:                Honorable John C. Coughenour
            AUSA:                          Brian Werner
21          Defendant’s attorney:          John W. Lundin
            Probation officer:             Jerrod Akins
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